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                                 o/FTLED                                                                                        AST


c/3                                               oEc   27   2018                               Transmittal Number:   1   91   05884




 csc                                 c,IHf US:'08'R[Y88il*,


Rejection of Service of Process
Return to Sender lnformation:

Office of Clerk of the U.S. District Court null
United States Courthouse
219 South Dearborn Street
Chicago, lL 60604


Date:                                       12t17t2018

Party Served:                               Gloria Breske c/o Wexford Health Sources, lnc.
Title of Action:                            Don Lippert vs. Partha Ghosh
CourUAgency:
Case/Reference No:                          1:1   0-cv-04603


The service of process received for the party served, as listed above, cannot be forwarded to the intended party for the
reason listed below:

Because two or more companies can have very similar names, the name of the company to which service of process is
directed MUST BE IDENTICAL to the company name on file with the Secretary of State or other appropriate state agency.

Our customer records are confidential. We do not release any information related to our customers, agent representation
or service of process received. Please contact the Secretary of State or other appropriate agency for more information.

For an electronic copy of the identified service, send your request by e-mail to sop@cscglobal.com. Please include the
transmittal number located in the upper right-hand corner of this letter.



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                                                               |
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